






Opinion issued February 15, 2007









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-00537-CV

____________


ROBERT BARRINGER AND MICHELLE BARRINGER, Appellant


V.


SAN JOAQUIN ESTATES HOMEOWNERS ASSOCIATION, INC.,
Appellee






On Appeal from the County Civil Court at Law No. 1

Galveston County, Texas

Trial Court Cause No. 51,898






MEMORANDUM OPINION

	The parties have filed a joint motion to dismiss the appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Jennings and Bland.


